Case 2:18-cv-01290-WSS Document 221 Filed 12/28/20 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Kyko Global, Inc., Kyko Global GmbH,

Prithvi Solutions, Inc.

Plaintiff(s)
Vv. Civil Action No. 2:18-cv-1290

SSG Capital Partners |, LP; SSG Capital

Management (Hong Kong) Limited; et al.

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Defendant(s)

REPORT OF NEUTRAL

A mediation session was held in the above captioned matter on

The case (please check one):
X__ has resolved
has resolved in part (see below)
has not resolved.

The parties request that a follow up conference with the Court should be scheduled within
days.
If the case has resolved in part, please indicate the part that has resolved and/or the

claim(s)/parties that remain.

After additional mediation efforts the partis reached a settlement.

 

 

Dated: December 28, 2020 /s/ Mark D. Shepard
Signature of Neutral

 

Rev. 09/11
